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                                                                                   Lee Gelernt
                                                                               Deputy Director
                                                                    Immigrants’ Rights Project
                                                               ACLU National Legal Department


                                                                              March 18, 2025

Clifton Cislak
Clerk of the Court
U.S. Court of Appeals for the District of Columbia Circuit
E. Barrett Prettyman U.S. Courthouse and William B. Bryant Annex
333 Constitution Ave, N.W,
Washington, D.C. 20001

      Re:    J.G.G. et al. v. Trump et al.
             Nos. 25-5067, 25-5068
             Rule 28(j) Letter

Dear Mr. Cislak:

      Defendants’ latest 28(j) letter states that the district court made a “blithe
suggestion” that the government could provide the requested information without
concern for national security, but the district court was anything but cavalier.

        In his Order, Chief Judge Boasberg expressly stated that if the government
believed it could not disclose the requested information, it could “file a Notice,
which may, if necessary, be sealed in part, setting forth: . . . The Government's
position on whether, and in what form, it will provide answers to the Court's
questions regarding the particulars of the flights. Such form could include in
camera review or in a classified setting. If the Government takes the position that
it will not provide that information to the Court under any circumstances, it must
support such position, including with classified authorities if necessary.” And, at
the hearing, Chief Judge Boasberg further emphasized that he could accommodate
the government’s concerns by using a “classified facility,” and that he has served
as the Presiding Judge of the Foreign Intelligence Surveillance Court and is thus
familiar with the handling of highly classified information.

      If the government’s position is that it will not under any circumstances
disclose to the court highly relevant information regarding whether it deliberately




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violated a federal court order, there is no good reason why it should not explain
why it believes its position is lawful.

                                   Respectfully submitted,

                                   /s/ Lee Gelernt
                                   Lee Gelernt
                                   AMERICAN CIVIL LIBERTIES UNION
                                   FOUNDATION
                                   IMMIGRANTS’ RIGHTS PROJECT
                                   125 Broad St., 18th Floor
                                   New York, NY 10004
                                   T: (212) 549-2660
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                       CERTIFICATE OF COMPLIANCE

        I hereby certify that the foregoing letter complies within the type-volume
limitations of Fed. R. App. P. 28(j) because the body contains 229 words. This
letter also complies with the typeface and type style requirements of Fed. R. App.
P. 32(a)(5)(A) because this letter was prepared in a proportionally spaced typeface
using Word 14-point Times New Roman.

                           CERTIFICATE OF SERVICE

       I hereby certify that on March 18, 2025, I electronically filed the foregoing
with the Clerk for the United States Court of Appeals for the District of Columbia
Circuit by using the appellate CM/ECF system.

Dated: March 18, 2025                             /s/ Lee Gelernt
                                                         Lee Gelernt




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